
PER CURIAM.
Affirmed. See County of Volusia v. Detzner, 253 So.3d 507, 2018 WL 4272435 (Fla. Sept. 7, 2018) (A ballot title and summary was found not "defective for failing to inform voters of what the Appellants assert is Amendment 10's true chief purpose: to divest county voters of their current constitutional right to decide the structure of their local governments" because the summary "accurately states the effect that Amendment 10's passage would have on county charters and special laws; there is no need to explain ramifications that are *363implicit in those statements."); Dep't of State v. Fla. Greyhound Ass'n, 253 So.3d 513, 519, 2018 Fla. LEXIS 1593 *, 2018 WL 4275358 *3 (Fla. Sept. 7, 2018) ("When evaluating whether a proposed amendment's ballot language is clearly and conclusively defective, a court must look not to subjective criteria espoused by the amendment's sponsor but to objective criteria inherent in the amendment itself, such as the amendment's main effect.").
